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                        EXHIBIT 12
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       1                 IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
       2                          TEXARKANA DIVISION
       3      CITY OF NEW BOSTON,             )
              TEXAS, individually and         )
       4      on behalf of all others         )
              similarly situated,             )
       5                                      )
                       Plaintiff,             ) CIVIL ACTION
       6      VS.                             )
                                              ) NO. 5:20-cv-00135-RWS
       7      NETFLIX, INC., and HULU,        )
              LLC,                            )
       8                                      )
                       Defendants.            )
       9
      10   ________________________________________________________
      11                  ORAL AND VIDEOTAPED DEPOSITION OF
      12                              ELIZABETH LEA
      13                              JUNE 11, 2021
           ________________________________________________________
      14
      15
      16         ORAL AND VIDEOTAPED DEPOSITION OF ELIZABETH LEA,
      17   produced as a witness at the instance of the Defendants,
      18   and duly sworn, was taken in the above-styled and
      19   numbered cause on the 11th day of June, 2021, from
      20   9:35 a.m. to 1:52 p.m., via Zoom, before Flora Knight,
      21   CSR in and for the State of Texas, reported by machine
      22   shorthand, at the law offices of Langdon & Davis, LLP,
      23   625 Sam Houston Drive, New Boston, Texas, 75570,
      24   pursuant to the Federal Rules of Civil Procedure and the
      25   provisions stated on the record or attached hereto.



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       1          A.   Johnny Branson.

       2          Q.   And who's the current mayor?

       3          A.   Ron Humphries.

       4          Q.   And do you live in New Boston, Ms. Lea?

       5          A.   No.    I still live in Nash.

       6          Q.   Can you just tell me a little bit more about

       7   the City of New Boston?       What's the closest big city?

       8          A.   Texarkana, Texas.

       9          Q.   And does it have any hotels?

      10          A.   New Boston?

      11          Q.   Uh-huh.

      12          A.   Yes.    I think there's three hotels here, or

      13   motels.

      14          Q.   And do you know about how many residents it

      15   has?

      16          A.   It's between 4- and 5,000.

      17          Q.   Okay.    How about any colleges, does it have any

      18   colleges?

      19          A.   No.

      20          Q.   Okay.    Any tourist attractions?

      21          A.   Well, they -- trails, they -- there's a trail

      22   here, from here all the way to -- close to the city,

      23   close to Dallas.       That's the old railroad trails, and

      24   they -- it's now walking trails or bike trails and

      25   things like that.       Other than that, it's just the normal




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       1   lakes around it, things of that -- of that nature.

       2         Q.   Okay.    So do you get a lot of tourists coming

       3   into town or not really?

       4         A.   Not really.

       5         Q.   Who's the biggest employer?

       6         A.   I would say the prison probably is.          There is a

       7   state prison here.

       8                     MS. PAWLOW:    Okay.    Darcee, could you

       9   please introduce Exhibit Number 1.

      10         Q.   (BY MS. PAWLOW)      And, Ms. Lea, you should have

      11   a notebook of exhibits.

      12                     MR. TIGHE:    That's Number 1 right there.

      13                     THE WITNESS:    Okay.

      14         A.   Okay.

      15                     MS. PAWLOW:    And actually, I misspoke.       We

      16   already covered Exhibit 1.

      17                     Darcee, could you introduce Exhibit 2

      18   instead.

      19         Q.   (BY MS. PAWLOW)      And, Ms. Lea, can you look at

      20   the second tab in your -- in your notebook.

      21         A.   Yes.

      22         Q.   Okay.    It should be, I think, the job

      23   description from the website.         Does that look familiar?

      24         A.   Yes.

      25         Q.   Okay.    And it says that you oversee the




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       1   things that I was instructed that we were to do, and we

       2   did.

       3                     We started that process in March, awarded

       4   contracts in April of '20, and it's still under

       5   construction.

       6          Q.   So did the city council decide to build the

       7   sewer plant or did the mayor decide to build the sewer

       8   plant?

       9          A.   No.   The city council decides.

      10          Q.   Okay.

      11          A.   The mayor doesn't even have a vote unless it's

      12   a tie.

      13          Q.   So turning to this case now, was it your

      14   decision -- I'm sorry.       Let me rephrase that.

      15                     Was it your idea to sue Netflix and Hulu?

      16          A.   I don't know that it was my idea.        It was my

      17   decision.     I -- I didn't really know about it until I

      18   talked with the attorneys.

      19          Q.   Okay.   So whose idea was it to sue Netflix and

      20   Hulu?

      21          A.   Well, it was my idea to do it, yes, once it was

      22   brought to my attention.

      23          Q.   Okay.   So how did it come to your attention?

      24          A.   One of my council members and an attorney

      25   brought it to me, that it was the law and that the city




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       1         Q.   And what's the city's normal process for

       2   dealing with that situation?

       3         A.   We turn off their services.

       4         Q.   Immediately?

       5         A.   Well, after they receive the notice that, you

       6   know, they have -- they get a second notice that it's

       7   past due, and then if they don't take care of it then,

       8   it's -- they're notified that it will be discontinued

       9   after a certain length of time, and we do discontinue

      10   their services, and then they usually come in and pay

      11   it.

      12         Q.   So why do you send them notices first instead

      13   of just turning off the water immediately?

      14         A.   Well, those are courtesy notices.         You're going

      15   to send them a second notice saying this is -- you know,

      16   it's due.     You should have paid it by this date.

      17         Q.   Right.    Right.   Did you send them -- did the

      18   city send a notice to Netflix or Hulu?

      19         A.   No.

      20         Q.   Why not?

      21                    MR. TIGHE:     Hang on a minute.

      22                    I'm going to object because the question

      23   calls for information protected by the attorney-client

      24   privilege.

      25                    Ms. Lea, if you can answer -- if you can




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       1   only answer the question by disclosing conversations you

       2   had with your lawyers, then I'm instructing you not to

       3   do that.

       4                     However, if you have any information that

       5   you can share that does not involve disclosing what you

       6   discussed with your lawyers, please share.

       7         A.   I can't answer that without sharing what --

       8   what I talked with the attorneys with.

       9         Q.   (BY MS. PAWLOW)      Okay.   Did you consider

      10   sending Netflix and Hulu a notice?

      11         A.   No.

      12         Q.   Did you consider conducting an audit?

      13         A.   No.

      14         Q.   So I believe you said that it was your decision

      15   to sue Netflix and Hulu; is that correct?

      16         A.   That's correct.

      17         Q.   Did you have -- did you hire the attorneys?

      18         A.   Yes.

      19         Q.   Did you sign the engagement letter?

      20         A.   Yes.

      21         Q.   Did the city council approve hiring the

      22   lawyers?

      23         A.   Not in open session.

      24                     MS. PAWLOW:    Darcee, can you please

      25   introduce Exhibit 4.




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       1   should consider suing Netflix and Hulu"?

       2         A.   (Witness moving head.)

       3         Q.   Do you know why Netflix and Hulu were

       4   identified as potential defendants?

       5         A.   No.

       6         Q.   Are you aware of any other streaming companies?

       7         A.   I know there probably are some, but I'm not

       8   aware of any of them.       I don't use it.     So I don't --

       9   I'm not aware of any of them.

      10         Q.   Why did you choose to sue only Netflix and Hulu

      11   and not any other streaming companies?

      12                    MR. TIGHE:     Hang on a minute.

      13                    I'm going to object because the question

      14   calls for information protected by the attorney-client

      15   privilege.

      16                    Ms. Lea, if you can only answer the

      17   question by disclosing conversations you had with your

      18   lawyers, then I'm instructing you not to do that.

      19                    However, if you have any information you

      20   can share that doesn't involve that, that doesn't

      21   disclose conversations you had with me or other

      22   attorneys, then please share.

      23         A.   I don't think I could answer that question

      24   without disclosing something I had discussed with my

      25   attorneys.




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       1         Q.   (BY MS. PAWLOW)      Okay.   So you said it was your

       2   decision to -- to sue Netflix and Hulu; is that right?

       3         A.   Yes.

       4         Q.   Did you consider suing any other streaming

       5   entities?

       6         A.   No.

       7         Q.   And you said in that initial meeting you didn't

       8   ask any questions; you just listened.          Is that right?

       9         A.   For the most part, yes.

      10         Q.   And you took notes during that meeting?

      11         A.   No.

      12         Q.   You just had a note on your calendar?

      13         A.   I had a note on my calendar of meeting with

      14   them.

      15         Q.   Okay.    You didn't take any notes.

      16                     Did they tell you how much the lawsuit

      17   might cost?

      18         A.   There was never any discussion about how much

      19   it would cost.

      20         Q.   Did they tell you how much the city might

      21   recover?

      22         A.   No.

      23         Q.   So -- so let me go back.       So you were an

      24   administrator in the City of Nash for 17 years; is that

      25   right?




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       1    retain him as the lawyer.        Can you ask her when she

       2    retained him as the lawyer?

       3          Q.    (BY MS. PAWLOW)     When did you retain Mr. Davis

       4    as the lawyer for the city?

       5          A.    Actually, the first time that he came to visit

       6    me, I told him that if -- if we were going to pursue

       7    anything, I wanted to have them do it.           I knew that my

       8    city attorney does not do things like that.

       9          Q.    So is your testimony that you retained

      10    Mr. Davis at the first meeting?

      11          A.    I would feel like I did, yes.

      12          Q.    Did you agree as to terms, as to what you would

      13    pay him for his services?

      14          A.    At that time he told me that there would be no

      15    charge for us at that time.        If the lawsuit was to go

      16    forward, that we -- the city would not be paying

      17    anything, the way the contract would be written.

      18          Q.    Did he tell you that the lawyers would recover

      19    a percentage of whatever fees the city recovered?

      20          A.    He told me that the court would decide what

      21    they received.

      22          Q.    Did he tell you what range that would normally

      23    be in?     Did he tell you 20 percent or 30 percent?

      24          A.    No, he did not.

      25          Q.    Does the city have any current plans to file a




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       1    lawsuit against any other streaming companies?

       2          A.   Not at this time.

       3                      MS. PAWLOW:    Okay.    Darcee, if you could

       4    please introduce Exhibit 3.

       5          Q.   (BY MS. PAWLOW)      Ms. Lea, if you could turn to

       6    Exhibit 3, please.

       7          A.   Okay.

       8          Q.   This should be the Complaint that the city

       9    filed against Netflix and Hulu.          Have you seen this

      10    document before?

      11          A.   Yes.

      12          Q.   When did you see this document?

      13          A.   I reviewed it prior to it being filed.

      14          Q.   Okay.    Let's go through the first couple of

      15    paragraphs of the Complaint.

      16                      Under introduction in paragraph 1 on

      17    page 1, it says:      Defendants provide video service in

      18    Texas municipalities.

      19                      What do you understand that to mean?

      20          A.   I understand that they provide service by using

      21    the wire in the private -- I mean, in the public

      22    right-of-ways.

      23          Q.   Do you know what "video service" means?

      24          A.   Well, yes.     I do know that they do provide

      25    service to homes.




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       1    supposed to be being paid by them.

       2          Q.   Does the city currently have a video service

       3    franchise ordinance that explicitly authorizes

       4    imposition of the franchise fees?

       5          A.   Not to my knowledge.

       6          Q.   Did you know that the Texas act that authorizes

       7    the charging of franchise fees requires the city to have

       8    an ordinance before collecting franchise fees?

       9          A.   No.

      10          Q.   And I believe you testified earlier that the

      11    city did not give any notice to Netflix or to Hulu

      12    before suing them; is that correct?

      13          A.   That's correct.

      14          Q.   I believe you testified earlier that at least

      15    AT&T and Vyve pay franchise fees; is that correct?

      16          A.   Yes.

      17          Q.   Do you know whether AT&T and Vyve own any

      18    assets in the public rights-of-way?

      19          A.   I do not know.

      20          Q.   Do you know why they're paying franchise fees?

      21          A.   No, I don't know, and there's possible that the

      22    city has an ordinance that says they're supposed to.              I

      23    just do -- I am not familiar with it.          There's lots of

      24    ordinances there, and I'm not familiar with all of them.

      25          Q.   That's fair enough.      You said not to your




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       1    any of your other lawyers, then I'm instructing you not

       2    to do that.

       3                      If you have any information that you can

       4    share that does not involve discussions with your

       5    lawyer, then you can please share.

       6          A.   I couldn't answer that with -- because the only

       7    thing I know about it is something that I would have

       8    discussed that with my attorneys.

       9          Q.   (BY MS. PAWLOW)      Okay.   The city has filed a

      10    brief in which it says that the video service provider

      11    fee is based upon gross revenue derived from the flat

      12    monthly subscriptions of subscribers with service

      13    addresses located in New Boston within any given

      14    quarter.

      15                      Do you know what service addresses are?

      16          A.   I know what our service in the city says, our

      17    service orders, but I'm not sure about Netflix.

      18          Q.   What are the city's?

      19          A.   Their -- their physical address is what we go

      20    by.

      21          Q.   So does that mean their residential address?

      22          A.   Yes.

      23          Q.   And you go by that because that's where they

      24    receive the services?

      25          A.   The services that we provide, that's where they




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       1    receive them, yes.

       2          Q.   Okay.   So -- so maybe sewer -- sewer services

       3    or water services?

       4          A.   Yes.

       5          Q.   How would -- how would that work in Netflix

       6    cases if the person watching Netflix or Hulu is watching

       7    it from somewhere else?

       8          A.   Again, that's a technical question that I would

       9    not understand or have an answer for you.

      10          Q.   Ms. Lea, do you have any understanding of

      11    whether the franchise fees that have been paid to the

      12    city are increasing or decreasing?

      13          A.   Maybe increased in the last, I would say, two

      14    years.

      15          Q.   Do you know why?

      16          A.   No, ma'am.

      17          Q.   Ms. Lea, are you aware that franchise fees can

      18    be passed down to -- to the subscriber?

      19          A.   No, I'm not aware of that.

      20          Q.   Do you subscribe to any cable companies,

      21    Ms. Lea?

      22          A.   I have -- my internet is through the cable in

      23    my home.

      24          Q.   Do you know if your internet service provider

      25    pays franchise fees?




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       1          A.   No, I do not.

       2          Q.   Have you talked to any residents in New Boston

       3    about how they would feel if their subscriber fees for

       4    Netflix and Hulu were to go up as a result of this

       5    lawsuit?

       6          A.   No.    I haven't discussed this lawsuit with any

       7    of the residents.

       8          Q.   I think you testified before that you did not

       9    know who -- maybe I'll ask the question again.

      10                      Do you know who else is using the

      11    rights-of-way in the City of New Boston?

      12          A.   No, I do not know exactly who's using those.

      13          Q.   And I think you testified that it would be

      14    someone in the -- bear with me -- someone in the public

      15    works department; is that right?

      16          A.   Correct.

      17          Q.   So in paragraph 2 of the Complaint you can see

      18    that the city is alleging that the Defendants owe a

      19    franchise fee of 5 percent of their gross revenue.

      20                      Do you see that?

      21          A.   Yes.

      22          Q.   Do you know if the 5 percent franchise fee

      23    percentage relates to any costs imposed on the city?

      24          A.   No.

      25          Q.   Does the city incur any costs as a result of a




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       1    subscriber watching Netflix or Hulu?

       2          A.   Not to my knowledge.

       3          Q.   Does the city incur any expenses as a result of

       4    Netflix or Hulu subscribers watching content?

       5          A.   Not to my knowledge.

       6          Q.   Does it cause the city any harm when Netflix

       7    and Hulu subscribers watch content?

       8                     MR. TIGHE:     Objection.    It's vague and lack

       9    of foundation.

      10          Q.   (BY MS. PAWLOW)      Do you know if the city is

      11    harmed when Netflix and Hulu subscribers watch content?

      12                     MR. TIGHE:     What do you mean by harmed?

      13                     MS. PAWLOW:     She can answer the question if

      14    she understands the question.

      15                     MR. TIGHE:     I -- I was just trying to be

      16    helpful.    She certainly can.

      17                     Go ahead.

      18          A.   I don't know of any -- anything that they would

      19    be harmed by.

      20          Q.   (BY MS. PAWLOW)      So right now you said that

      21    Vyve and AT&T and maybe one other, I forgot, are paying

      22    franchise fees.      Do they obtain any special privilege or

      23    benefit in exchange for paying the fee?

      24          A.   No.

      25          Q.   Who is your internet service provider, Ms. Lea?




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       1          A.    Actually, I can't remember.       I don't remember

       2    who it is.     You are asking about the city's?

       3          Q.    And I think you said you had it at home, too;

       4    right?     You don't remember the city's?

       5          A.    I don't remember the city's.

       6          Q.    Do you remember -- do you remember your own?

       7          A.    Yes.

       8          Q.    What's your internet service provider?

       9          A.    Cable Company.

      10          Q.    The Cable Company.      Okay.

      11                       Do you know -- oh, that's right.       You

      12    don't -- you don't live in New Boston.           I apologize.

      13    Thank you.

      14                       MS. PAWLOW:    Darcee, can you please

      15    introduce Exhibit Number 6.

      16          Q.    (BY MS. PAWLOW)      Can you please look at tab 6

      17    in your binder, Ms. Lea.

      18          A.    Yes.

      19          Q.    This should be the 2020 to 2021 budget for the

      20    city.    Have you seen this document before?

      21          A.    Yes.

      22          Q.    If you give me just a moment, mine is loading a

      23    little bit slowly.

      24                       I'm sorry.    Did I ask you, have you seen

      25    this document before?




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       1           A.   Yes.

       2           Q.   Could you please turn to page 3.        There are a

       3    series of accounts listed there starting with 3010,

       4    general sales tax.      Do you see that?

       5           A.   Yes.

       6           Q.   Are you aware that Netflix pays a state sales

       7    tax?

       8           A.   No.

       9           Q.   Does the city impose any local sales taxes?

      10           A.   We have what is the state taxes and the local

      11    taxes.

      12           Q.   Do you know what the local taxes are imposed

      13    on?

      14           A.   No.

      15           Q.   Do you see four lines down it says account

      16    3020, franchise tax, and the budget is $131,000.             Do you

      17    see that?

      18           A.   Yes, and I feel like that that's incorrect,

      19    that franchise tax.       Franchise are fees, not tax.

      20           Q.   Do you know why it's reported as a tax?

      21           A.   No, ma'am, I can't tell you why that that was

      22    done that way.

      23           Q.   Why do you think it's not a tax?

      24           A.   Because people in the past that was in that

      25    department typed it in as tax, and it's never been




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       1                      And who brought this to your attention,

       2    that this was labeled tax instead of fee?

       3          A.   No one.    I read it myself, and I saw that it

       4    said tax.

       5          Q.   Okay.    Going back to this, is it correct that

       6    the franchise taxes that the city has been receiving

       7    from AT&T and Vyve are accounted for as part of the

       8    general fund?

       9          A.   Yes.

      10          Q.   And you said general expenses are paid out of

      11    the general fund.      So could salaries be paid out of the

      12    general fund?

      13          A.   All salaries for everyone other than the public

      14    works employees are paid out of the general fund.

      15          Q.   And do you earn a salary as city administrator?

      16          A.   Yes.

      17          Q.   If the city is successful in its lawsuit, would

      18    the franchise fees paid by Hulu and Netflix get reported

      19    into the general fund?

      20          A.   Yes.

      21          Q.   And could they be used to pay your salary?

      22          A.   In part.

      23          Q.   Is it your understanding that this action is a

      24    punitive class action lawsuit?

      25          A.   I'm not an attorney.       So I'm not sure what all




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       1    that means.

       2          Q.   Okay.    Let's go back to the Complaint which is

       3    Exhibit 3.     Just on the very first page it says

       4    Plaintiff's Original Class Action Complaint.            Do you see

       5    that?

       6          A.   Yes.

       7          Q.   And it says that the City of New Boston, Texas,

       8    individually and on behalf of all others similarly

       9    situated files this Class Action Complaint.

      10                      Do you see that?

      11          A.   Yes.

      12          Q.   Do you know what that means?

      13          A.   I guess.    I know that we are the plaintiff at

      14    this time --

      15          Q.   Do you know what --

      16          A.   -- until a judge -- until a judge says that

      17    it's a class action, and after that we would all be

      18    combined.    So we would be filing for every city in -- in

      19    the state.

      20          Q.   Did you talk to any mayors or any city

      21    administrators in any other city or municipality in

      22    Texas before you decided to sue Netflix and Hulu?

      23          A.   No, I did not.

      24          Q.   Why not?

      25          A.   I didn't think it was necessary for me to talk




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       1    to any of them.

       2          Q.   Did you talk to any managers or mayors or city

       3    representatives about this lawsuit after the Complaint

       4    was filed?

       5          A.   No.

       6          Q.   So you have no idea how any other cities feel

       7    about this lawsuit?

       8          A.   No.

       9          Q.   So I explained to you that if you're

      10    successful, that the franchise fees could be passed on

      11    to subscribers, and if the class action is successful,

      12    it could be passed on to residents of other cities like

      13    Nash.   Did you know that?

      14          A.   Yes.

      15          Q.   And are you okay with that?

      16          A.   Yes.

      17          Q.   What if the mayors or city administrators of

      18    those other cities don't want to increase taxes on their

      19    residents?

      20                      MR. TIGHE:    Objection, form.

      21                      You can answer.

      22          Q.   (BY MS. PAWLOW)      You can answer the question.

      23          A.   I -- I don't think that it matters whether they

      24    would want to or not.       If it's the statute -- if the

      25    statute says that Netflix and Hulu should be paying




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       1    these fees, then they should be paying them or they're,

       2    you know -- so I wouldn't think -- I wouldn't know of

       3    any city that would not want to receive those fees, but

       4    I would think that that would be up to the individual

       5    city to feel that way about it, but I don't think it

       6    would matter to me one way or the other.

       7          Q.   Ms. Lea, have you heard of the First Amendment?

       8          A.   Yes.

       9          Q.   And do you know that the First Amendment, among

      10    other things, protects freedom of speech?

      11          A.   Yes.

      12          Q.   And do you think that it is appropriate to

      13    impose a tax on Netflix and Hulu which is going to

      14    burden their freedom of speech?

      15                      MR. TIGHE:    Objection, legal conclusion,

      16    lack of foundation.

      17                      You can answer that if you can.

      18          A.   I don't know of any -- any way I can answer

      19    that.

      20          Q.   (BY MS. PAWLOW)      But you said you are aware

      21    that there are other streaming services; right?

      22          A.   Yes.

      23          Q.   And you've chosen only to sue Netflix and Hulu;

      24    right?

      25          A.   Correct.




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       1          Q.   So some streaming services can provide their

       2    content without paying the tax, and Netflix and Hulu

       3    can't, right, according to the lawsuit?

       4                     MR. TIGHE:     Objection, lack of foundation,

       5    calls for a legal conclusion.

       6                     Answer if you can.

       7          A.   I wouldn't have any idea about, you know --

       8    I -- personally I feel like that Netflix and Hulu are

       9    violating the law when they're not paying the fee.             So

      10    the others are violating it also, but I didn't file a

      11    lawsuit against them, just this one.

      12          Q.   (BY MS. PAWLOW)      And why just these two?

      13                     MR. TIGHE:     Objection, asked and answered.

      14    Also, I'm going to object because the question calls for

      15    information protected by the attorney-client privilege.

      16                     Ms. Lea, if you can only answer the

      17    question by disclosing conversations you had with your

      18    lawyers, then I'm instructing you to not do that.

      19                     However, if you have any information you

      20    can share that does not involve disclosing what you

      21    discussed with your lawyers, please go ahead and share.

      22          A.   I couldn't answer that without disclosing what

      23    I had talked with with my attorneys.

      24          Q.   (BY MS. PAWLOW)      So it was your decision to sue

      25    only Hulu and Netflix, and you believe that you have the




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       1    discretion to sue only Netflix and Hulu.           You haven't

       2    talked to anybody else, any other city in -- in the

       3    state of Texas about that decision?

       4                     MR. TIGHE:     Objection, asked and answered.

       5                     You can answer again.

       6          A.   That's correct.

       7                     MS. PAWLOW:     Okay.   If I could please have

       8    a break, I think I am just about done.           I'd like to

       9    confer with my colleagues, and then I'm going to turn it

      10    over to the attorney for Hulu.         So --

      11                     MR. TIGHE:     How much time, Jean?

      12                     MS. PAWLOW:     I'm sorry?

      13                     MR. TIGHE:     How much would you like

      14    time-wise?

      15                     MS. PAWLOW:     Let's see.    I don't know if

      16    you need to get something to eat, if you're okay.              Do

      17    people want to take maybe 15, 20 minutes, or do you need

      18    less time than that?

      19                     MR. TIGHE:     I'll speak for us first, if

      20    that's okay.     We conversed about this this morning, and

      21    I asked the witness because it's more important what she

      22    wants than me.

      23                     Her preference is to keep going.         So

      24    keeping the breaks to whenever anybody wants to break,

      25    let's maybe keep it to ten minutes, and then we'll just




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       1    keep on going.

       2                     That -- that's our position.         Of course,

       3    you know, see what Victor and everybody else on your end

       4    says, but we'd like to just keep moving through.

       5                     MS. PAWLOW:     Okay.    Why don't we go ahead

       6    and take -- can we have until 1 o'clock my time?             So

       7    that's noon your time.       That's about, I don't know,

       8    13 minutes, something like that.

       9                     MR. TIGHE:     That -- that will be fine.

      10    We'll see you back here then.

      11                     MS. PAWLOW:     Okay.    Great.   Thank you.

      12                     THE VIDEOGRAPHER:       Time is 11:42 a.m.       We

      13    are off the record.

      14                     (Recess taken, 11:42 a.m. to 12:01 p.m.)

      15                     THE VIDEOGRAPHER:       Time now is 12:01 p.m.

      16    We are back on the record.

      17          Q.   (BY MS. PAWLOW)      Just a few more questions,

      18    Ms. Lea.    Thank you.

      19                     I believe I asked you earlier with respect

      20    to AT&T and Vyve and other entities that might be paying

      21    the franchise taxes, whether they receive any specific

      22    benefit or privilege from the city, and you testified

      23    no, but I cannot remember if I asked you:           Do Netflix

      24    and Hulu receive any specific benefit or privilege from

      25    the city?




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       1          Q.   You also made the decision not to sue other

       2    video service providers like HBO or Direct TV or Dish;

       3    correct?

       4          A.   In that case, I -- I did not discuss that,

       5    about any of that.

       6          Q.   Okay.   But you made the decision to proceed

       7    against Hulu and Netflix even though the city was not

       8    taking any action against other video service providers;

       9    correct?

      10          A.   After discussion with my attorneys, yes.

      11          Q.   I actually want to be very clear.          I don't want

      12    to hear anything about your discussions with attorneys.

      13    I don't want to know if it was discussed with attorneys.

      14                     Since you're the decision maker and the

      15    only decision maker, I just want to know if you had a

      16    decision and you had a reason.         The fact that you

      17    discussed with your attorneys, I don't care.

      18                     If it's a decision and a reason you had, I

      19    want to hear about it.       If you had no reason, then just

      20    say you had no reason.

      21          A.   Okay.

      22          Q.   Okay.   So you made the decision not to sue

      23    other video service providers like HBO or YouTube or

      24    Direct TV or Dish; correct?

      25          A.   Correct.




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       1          Q.   You had the authority to make that decision;

       2    right?

       3          A.   Yes.

       4          Q.   You didn't need authorization from anyone else

       5    to do so; correct?

       6          A.   Correct.

       7          Q.   In fact, you could have made the decision to

       8    sue HBO and Direct TV and Dish instead of Hulu and

       9    Netflix in this lawsuit; correct?

      10          A.   Correct.

      11          Q.   Why did you decide to sue Hulu and Netflix

      12    without also taking action against other video service

      13    providers that also may use the internet?

      14                      MR. TIGHE:    Hang on.

      15                      Asked and answered, and I'm also going to

      16    object because the question calls for information

      17    protected by the attorney-client privilege.

      18                      Ms. Lea, if you can only answer the

      19    question by disclosing conversations you had with your

      20    lawyers, I'm instructing you not to do that.            If you --

      21          Q.   (BY MR. JIH)     Let me clarify that again.

      22                      (Simultaneous speakers.)

      23                      MR. TIGHE:    We'll have this discussion

      24    early on so we can get it out of the way.

      25          Q.   (BY MR. JIH)     Yeah, so again, I'm just going to




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       1                     MR. JIH:    I know.

       2                     MR. TIGHE:     Right.

       3                     So, Ms. Lea, if you could only answer the

       4    question by disclosing conversations you had with your

       5    lawyers, then I'm instructing you not to do that.

       6                     If you have any information that you can

       7    share that does not involve disclosing what you

       8    discussed with your lawyer, please share.

       9          A.   There's nothing that I -- for that -- because

      10    of that decision -- I made that decision after

      11    discussions with my attorney.         So I cannot answer that.

      12          Q.   (BY MR. JIH)     Okay.   But that is not a valid

      13    objection.     I don't care if it happened after.         I don't

      14    have to care if it happened before.

      15                     I want to know you yourself, without

      16    regards to the attorneys, what they told you at all, did

      17    you yourself as the decision maker have any reason to

      18    single out Hulu and Netflix?

      19                     MR. TIGHE:     Same objection, same

      20    instruction.

      21          A.   No.

      22          Q.   (BY MR. JIH)     So you don't yourself, you can't

      23    think of a basis for distinguishing Hulu and Netflix

      24    from other video service providers that use the

      25    internet; correct?




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       1          A.   Correct.

       2          Q.   Okay.   And so -- so why did you then make that

       3    decision if you don't yourself have any reason to only

       4    sue Hulu and Netflix because you own the decision?

       5                     MR. TIGHE:     I'm going to object again

       6    because it's calling for information protected by the

       7    attorney-client privilege.

       8                     Ms. Lea, if you can only answer the

       9    question by disclosing conversations you had with your

      10    lawyers, then I'm instructing you not to do that.

      11                     If you have any information you can share

      12    that does not involve disclosing what you discussed with

      13    your lawyers, please share.

      14          A.   There's no way I can answer that question

      15    without revealing what I discussed with my attorneys.

      16          Q.   (BY MR. JIH)     Is there any way you can defend

      17    the City of New Boston's decision to selectively enforce

      18    the statute against Hulu and Netflix without disclosing

      19    privileged information?

      20          A.   No.

      21          Q.   Okay.   So for purposes of this lawsuit, because

      22    you've asserted the privilege, we should treat it as if

      23    there was no reason for singling out Hulu and Netflix,

      24    correct, because there's no non-privilege reason you can

      25    reveal?




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       1          Q.   And you have the decision to decide timing and

       2    what the overall strategy is, if anything?

       3          A.   I would think so, yes.

       4          Q.   Why do you have that authority?         What is that

       5    based on?

       6                     MR. TIGHE:     Asked and answered.

       7          A.   The city ordinance gave me -- when they created

       8    that city ordinance, it gave me that authority.

       9          Q.   (BY MR. JIH)     Is it your understanding that the

      10    other cities in Texas that have city administrators,

      11    that their city administrators have similar authority?

      12          A.   I can't testify as to what the other cities

      13    have.

      14          Q.   So you don't know what authority other cities

      15    give to their city administrators or how they approach

      16    these enforcement issues?

      17          A.   I know what some of the city administrators or

      18    city managers tell me.

      19          Q.   But you don't know what all of them --

      20          A.   I have not --

      21          Q.   -- can and cannot do?

      22          A.   -- looked at their ordinances.         I do not have

      23    privilege to their paperwork showing what they --

      24    what -- the authority they have.

      25          Q.   Okay.   So would it be appropriate for you to




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       1    make decisions for them on how to enforce or collect the

       2    fees?

       3          A.   It doesn't -- that doesn't make any difference

       4    with me one way or the other.         I'm just doing this

       5    because it's the right thing to do for us.

       6          Q.   Got it.    So you don't necessarily care what

       7    other people do.      What you care about is what happens in

       8    New Boston.     Is that what you're saying?

       9          A.   Well, I think everybody should be treated right

      10    in the state of Texas.       If the statute says that Netflix

      11    and Hulu should be paying this fee to everyone, then,

      12    yes, everyone should be receiving it.

      13          Q.   But the statute doesn't say Hulu or Netflix.

      14    It says all video service providers, and you chose Hulu

      15    and Netflix; correct?

      16          A.   Correct.

      17          Q.   Is there any plan at the City of New Boston to

      18    identify the other video service providers that should

      19    be paying a fee?

      20          A.   Not at this time.

      21          Q.   Why not?

      22          A.   One thing at a time, I guess, is what -- what I

      23    think.

      24          Q.   It's not like you don't know what other video

      25    internet services are provided over the internet.




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       1    actually disagrees with that.

       2                      But given that possibility, are you

       3    concerned that anything you collect from Hulu or Netflix

       4    in this case will ultimately be paid by your residents?

       5          A.   No.

       6          Q.   Why not?

       7          A.   I feel like if the statute says that the fee

       8    should be paid to the city, it should be paid to the

       9    city.

      10          Q.   Even if it falls on the backs of your

      11    residents?

      12          A.   Yes.

      13          Q.   Okay.    Is it important for you to understand

      14    how much it might affect your residents?

      15          A.   I don't think it really matters one way or the

      16    other.

      17          Q.   So even if certain residents of New Boston may

      18    suddenly be hit with several hundred dollars on a bill

      19    for subscribing to Hulu or Netflix, that's not something

      20    you're even worried about to even look into?

      21          A.   That would be ridiculous.

      22          Q.   Why?

      23          A.   That would be ridiculous for them to be hit

      24    with a big bill.

      25          Q.   And if that's what the consequences --




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       1    like that if the statute says that a provider needs to

       2    pay that fee, they should be paying that fee.

       3          Q.   Okay.   But then it is your call because the

       4    statute says everyone should pay the fee.           You're

       5    deciding Hulu, not HBO; right?

       6          A.   At this time I am not.

       7          Q.   So does it bother you that at this time that

       8    would be treating residents of New Boston differently

       9    depending on what they happen to subscribe to?

      10          A.   I think that they have the decision to leave

      11    Hulu and Netflix and go with someone else if they feel

      12    like that they're having to pay more there.

      13          Q.   So the fact that charging Hulu subscribers

      14    5 percent more but not HBO, the fact that that might

      15    cause them to move away from Hulu and go to HBO, that

      16    doesn't bother you?

      17          A.   No, it doesn't.

      18          Q.   And so even if that is the result, you don't --

      19    you're okay with that?

      20                     MR. TIGHE:     Objection, asked and answered

      21    three times.

      22                     You can answer it again.

      23          A.   Yes, I'm fine with that.

      24          Q.   (BY MR. JIH)     Okay.   Do you know how many of

      25    your residents do subscribe to Hulu as opposed to other




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       1    make are constitutional?

       2          A.   I would think that would be the council.           If

       3    they felt that I was not doing something correct, they

       4    would say something.

       5          Q.   But don't you also have the obligation to try

       6    to stay constitutional in what you do?           Would you not

       7    consider that part of your responsibility?

       8          A.   I do try to stay constitutional.

       9          Q.   Okay.   The press reported earlier, I guess last

      10    year, that the City of Dallas was also considering a

      11    potential lawsuit for video franchise fees.            Are you

      12    aware of that?

      13          A.   No, I'm not.

      14          Q.   Have you ever discussed the collection of video

      15    franchise fees with the City of Dallas?

      16          A.   No.

      17          Q.   Any other city?

      18          A.   No.

      19          Q.   Do you know if any deal was reached with -- by

      20    your lawyers with anyone representing the City of Dallas

      21    so that they would not bring their own lawsuit?

      22          A.   No.

      23          Q.   If there was a deal involving sort of like the

      24    two cities, you would expect to know about it; correct?

      25          A.   I would expect to, yes.




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       1          Q.   Okay.    Because you would -- since you're

       2    overseeing the litigation, you would expect to have some

       3    knowledge and have to approve or not approve if there's

       4    any kind of deal; right?

       5          A.   I would think so.

       6          Q.   Okay.    You understand that this case is being

       7    brought as a class action; correct?

       8          A.   Yes.

       9          Q.   What's your understanding of what a class

      10    action is?

      11          A.   It's where one person stands for all of the

      12    people for the same claim.

      13          Q.   Okay.    Do you understand how it works beyond

      14    that?

      15                      MR. TIGHE:    Objection, vague.

      16          A.   Not really.     I -- I don't -- like I said, I'm

      17    not an attorney.      So I don't know or personally.

      18          Q.   (BY MR. JIH)     Well, in making decisions about

      19    this litigation, is your responsibility to the City of

      20    New Boston or now to the city of other -- to the -- to

      21    the residents of other cities in Texas?

      22          A.   I understand that my primary responsibility is

      23    to the City of New Boston.

      24          Q.   Even if you are functioning as a class

      25    representative in this case?




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       1          A.   As a class representative, I think that I -- I

       2    would be representing the entire state, yes.

       3          Q.   Okay.   What if there's a conflict between what

       4    New Boston wants and what other cities want?

       5                     MR. TIGHE:     Objection, calls for a legal

       6    conclusion.

       7                     Answer it if you can.

       8          A.   I don't think I could answer that question.            I

       9    don't have any idea about a conflict with any other

      10    cities.

      11          Q.   (BY MR. JIH)     Well, do you have any idea what

      12    the other cities want on this issue?

      13          A.   No.

      14          Q.   Have any of them reached out to you to support

      15    what you're doing?

      16          A.   No.   I haven't discussed it with anyone.

      17          Q.   Okay.   But it's been reported, hasn't it?

      18                     MR. TIGHE:     If you know.

      19          A.   I'm not sure it has been.        I don't -- of

      20    course, I don't get the newspaper.

      21          Q.   (BY MR. JIH)     You don't?

      22          A.   No.

      23          Q.   Do you feel -- are you taking any steps to

      24    learn what other cities might want to do on this

      25    subject?




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       1          A.   No.

       2          Q.   Do you feel the need to learn what other cities

       3    might want?

       4          A.   I don't feel the need to, no.

       5          Q.   Do you know what the duties -- first of all, do

       6    you know what a class representative is?

       7                     MR. TIGHE:     Asked and answered.

       8          A.   I know that if this is declared a class action

       9    by the judge, then I would be fighting for all of the

      10    cities in the state.

      11          Q.   (BY MR. JIH)     Do you know what your

      12    obligations, though, are as a class representative?

      13          A.   I don't really know about any obligations other

      14    than to vigorously pursue this lawsuit with the help of

      15    my attorneys.

      16          Q.   As you mentioned, you know, the decision to do

      17    this case was on the promise that you -- the city

      18    wouldn't have to pay anything except out of the

      19    recovery.

      20                     If the prosecution of the case did entail

      21    some financial burdens, though, would the City of New

      22    Boston still be willing to proceed as a class

      23    representative?

      24          A.   That's something that I would have to go back

      25    and talk with my council about.




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       1          Q.   Okay.

       2          A.   -- the fees.

       3          Q.   So it has to be video streaming, and it also

       4    has to use the wires; correct?

       5          A.   That's what I understand, but it's a technical

       6    question that I don't understand anyway.

       7          Q.   Do -- do they have to use the wires in the City

       8    of New Boston?

       9          A.   I'm assuming that they would have to use the

      10    ones in New Boston.

      11          Q.   But that's your understanding, and -- and when

      12    you made the decision to proceed, that's -- that's your

      13    understanding; correct?

      14          A.   Yes.

      15          Q.   Okay.   Before proceeding -- well, forget that.

      16                      Has the City of New Boston ever tried to

      17    determine whether or not the wires in the city are

      18    actually being used by Hulu?        Did you do a study, ask

      19    anyone to look?

      20          A.   No, we did not.

      21          Q.   Okay.   So I assume also the city has never

      22    attempted to quantify or measure if -- any uses at all,

      23    but the degree of the use of any wires in the city;

      24    correct?

      25          A.   Correct.




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       1          Q.   Does the city have an interest in every

       2    right-of-way within the geographic limits of the city or

       3    some potentially owned by the state, et cetera?

       4          A.   Yes.

       5          Q.   So the city does -- I gave you an "or."           So I

       6    don't know which one it is.

       7                      Does the city have an interest in all of

       8    the rights-of-way in the geographic boundaries of the

       9    city?

      10          A.   All of ours we do.

      11          Q.   Okay.    But -- but are they all yours, is the

      12    question, or are some of the public rights-of-way owned

      13    by the state, for example?

      14          A.   I believe there are some owned by the state.

      15          Q.   So it would depend on the particular

      16    right-of-way; correct?

      17          A.   Yes.

      18          Q.   Okay.    Has the city identified any harm at all

      19    from anyone using the public internet to access Hulu?

      20                      MR. TIGHE:    Objection, asked and answered.

      21                      You can answer.

      22          A.   I don't -- I don't know of any.

      23          Q.   (BY MR. JIH)     And you haven't, like, had to

      24    spend any money because someone decided to access Hulu

      25    or anything like that; correct?




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       1                          REPORTER'S CERTIFICATE

       2

       3                I, Flora Knight, Certified Shorthand Reporter,

       4    do hereby certify that prior to the commencement of the

       5    examination, ELIZABETH LEA, was duly remotely sworn by

       6    me to testify to the truth, the whole truth and nothing

       7    but the truth.

       8                I DO FURTHER CERTIFY that the foregoing is a

       9    verbatim transcript of the testimony as taken

      10    stenographically by me at the time, place and on the

      11    date hereinbefore set forth, to the best of my ability.

      12                I DO FURTHER CERTIFY that I am neither a

      13    relative nor employee nor attorney nor counsel of any of

      14    the parties to this action, and that I am neither a

      15    relative nor employee of such attorney or counsel, and

      16    that I am not financially interested in the action.

      17

      18

      19                          ________________________________

      20                          FLORA KNIGHT, Texas CSR No. 5894

      21

      22

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       1    it.

       2          Q.   Okay.   So because of that, you don't have a

       3    problem with forcing everyone into the class; correct?

       4          A.   Correct.

       5          Q.   And you feel no discomfort in making that

       6    decision for every other city; correct?

       7          A.   That's correct.

       8          Q.   And you feel no discomfort even though you

       9    don't really understand how the law works --

      10                     MR. TIGHE:     Objection.

      11          Q.   (BY MR. JIH)     -- and you're not a lawyer?

      12                     MR. TIGHE:     Objection.    That

      13    mischaracterizes her prior testimony.

      14                     You can answer if you can.

      15          A.   I don't have any problems with that.

      16          Q.   (BY MR. JIH)     And you don't have any problem

      17    with that even though you're not exactly sure how it

      18    increases the fees for the rest of its other cities in

      19    Texas?

      20          A.   I'm not uncomfortable with doing it, no.

      21          Q.   And you're not uncomfortable at all with

      22    forcing other cities into this action even though you

      23    yourself don't understand any potential First Amendment

      24    implications of the decision?

      25          A.   I am not uncomfortable with doing what I'm




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       1    doing.

       2          Q.   And you're not uncomfortable with forcing every

       3    city into this action even if it might expose them to

       4    counterclaims and liability that you yourself don't

       5    currently understand?

       6          A.   No.   I am not -- I am not uncomfortable with

       7    anything I'm doing.

       8          Q.   Okay.   As the representative for the City of

       9    New Boston, would you equally have no problem if another

      10    city was doing this to you?

      11          A.   I would not have any problem with it.

      12          Q.   Okay.   Now, in applying the statute, has the

      13    city issued any guidance or guidelines for how it

      14    believes the franchise fee should be calculated?

      15          A.   No.

      16          Q.   Has anyone at the city even thought about how

      17    the revenues that are derived from a video service

      18    provider's network within the municipality should be

      19    calculated?

      20                     MR. TIGHE:     You can answer that, but you

      21    cannot share any conversations you had with your

      22    attorneys.

      23          A.   I have not calculated it.        I don't know

      24    anything about that yet.

      25          Q.   (BY MR. JIH)     And you haven't even thought




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